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          AFFIDAVIT IN SUPPORT OF CRIMINAL COMi>LAiNT AND                                  i
                        ARREST WARRANT(REDACTEDVi

                                  I.    INTRODUCTION


   I, Marshall Ward, being first duly sworn, hereby depose and state the following:
1. I am employed by the United States Department ofJustice as a Special Agent ofthe Federal
   Bureau of Investigation (FBI) and have been so employed since December 2008. I am
   assigned to the Norfolk field office, where my primary duties include the investigation of
   computer-based intrusions,frauds and economic crimes, as well as Internet, mail, and wire
   fraud schemes.


2. This Affidavit is submitted in support of the attached Criminal Complaint proposing to
   charge OBINWANNE OKEKE,(hereinafter "OKEKE"), with committing Conspiracy to
   Commit Computer Fraud, in violation of 18 U.S.C. § 1030, and Conspiracy to Commit
   Wire Fraud,in violation of 18 U.S.C. § 1349. As set out herein, there is probable cause to
   believe that OKEKE has conspired with several individuals to access computers without
   authorization, and using such access to cause the fraudulent wire transfer offunds.

                        II.       FACTS AND CIRCUMSTANCES


3. The facts and information contained in this Affidavit are based on my personal knowledge
   and observations, information conveyed to me by other law enforcement officials, and my
   review ofrecords,documents and other physical evidence obtained during the investigation
   of this case. Since this Affidavit is being submitted for the limited purpose of securing a
   Criminal Complaint, I have not included each and every fact known to me concerning this
   investigation. I have set forth only the facts that I believe are necessary to establish
   probable cause to believe that OKEKE has committed violations of Title 18, U.S.C.,
   Sections 1030 and 1349.


                           III.    STATUTORY AUTHORITY


4. This investigation concerns alleged violations of Title 18, United States Code, Sections
   1030 and 1349, regarding the commission of computer fraud and wire fraud in the course
   of obtaining funds through fraudulent pretenses.

5. Section 1030(a)(4) proscribes charges for "Whoever...knowingly and with intent to
   defraud, accesses a protected computer without authorization, or exceeds authorized
   access, and by means of such conduct furthers the intended fraud and obtains anything of
   value..." Section 1030(a)(6) outlines charges for "Whoever... knowingly and with intent
   to defraud traffics (as defined in section 1029) in any password or similar information
   through which a computer may be accessed without authorization, if...such trafficking
   affects interstate or foreign commerce." Sections 1030(b)and 1030(c)proscribe conspiracy
   charges for violations of Section 1030(a)(4) or 1030(a)(6).
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          Section 1343 proscribes charges for "Whoever, having devised or intending to devise any
          scheme or artifice to defraud, or for obtaining money or property by means of false or
          fraudulent pretenses, representations, or promises,transmits or causes to be transmitted by
          means of wire, radio, or television communication in interstate or foreign commerce, any
          writings, signs, signals, pictures, or soimds for the purpose of executing such scheme or
          artifice..." Section 1349 proscribes conspiracy charges for violations of Section 1343
         (Wire Fraud).


                           IV.      BACKGROUND OF INVESTIGATION AND
                                         SUMMARY OF PROBABLE CAUSE



     7. In June, 2018, representatives for Unatrac Holding Limited, the export sales office for
        Caterpillar heavy industrial and farm equipment, headquartered in the United Kingdom,
        contacted the FBI. They reported that Unatrac had been victimized through an email
        compromise, which ultimately resulted in fraudulent wire transfers totaling nearly $11
        million (11 million US Dollars). After reviewing the documentation provided by the
        representatives, the FBI opened an investigation in July 2018.

     8. The representatives explained that on or about April 1, 2018, Unatrac's Chief Financial
          Officer("CFO")received a phishing' email containing a web link, purportedly to the login
          page of the CFO's online email account hosted by Microsoft Office365. When the CFO
          opened the link, it instead led him to a phishing web site crafted to imitate the legitimate
          Office365 logon page. Believing the page to be real, he entered his login credentials, which
          were captured by an unknown intruder who controlled the spoofed web page.

     9. After capturing the legitimate credentials, the intruder was able to remotely login and
         access the CFO's entire Office365 account, which included all of his emails and various
         digital files. Logs indicate that between April 6 and April 20, 2018, the intruder accessed
         the CFO's account at least 464 times, mostly from Internet Protocol (IP) addresses in
         Nigeria.

     10. With full access to the account,the intruder sent fraudulent wire transfer requests from the
         CFO's email account to members of Unatrac's internal financial team. The intruder also
         attached fake invoices to the emails to enhance the credibility ofthe requests. For many of
         the invoices, the intruder used content sourced from within the CFO's own account, such
         as Unatrac logos and preformatted invoice templates, ostensibly to make the invoices
         appear authentic. Knowing that invoices typically originate from outside the organization,
         the intruder also apparently sent emails to the CFO's account from an external address, and
         then forwarded them to the financial team. For example, on April 19, 2018, the CFO's
         account received an email from pakfei.trade@gmail.com. Two minutes later, the intruder
         forwarded that email with an attached fraudulent invoice to a member ofthe financial team.


'"Phishing" is the fraudulent attempt to obtain sensitive information such as usemames, passwords, and credit card
details, often for malicious reasons, by disguising as a trustworthy entity in an electronic communication. The word
is a neologism created as a homophone offishing due to the similarity of using bait in an attempt to catch a victim.

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    11. During the period of unauthorized access, activity logs show that the intruder created or
        modified email filter rules for the CFO's account on seven occasions between April 10 and
        April 17, 2018. The rules intercepted legitimate emails to and from employees on the
         financial team, marked them as read, and moved them to another folder outside the inbox.
         These rules appeared to have been created in an attempt to hide from the CFO any
         responses from the individuals to whom the intruder was sending fabricated emails.

    12. Believing the wire transfer requests had come from their CFO, Unatrac finance staff
        processed approximately 15 firaudulent payments between April 11 and April 19, 2018. In
        some cases, several payments were sent to the same account. For example,the finance staff
        received and processed three invoices to Pak Fei Trade Limited: one for $278,270.66, one
        for $898,461.17, and one for $1,957,100.00. In total, nearly $11,000,000 (11 million US
        dollars) was sent, all of which went to overseas accounts. By the time the fraud was
        discovered, it was too late to cancel the transfers, and Unatrac was able to recover very
         little ofthe transferred fimds.


    13. With full access to the Microsoft Office365 account, the intruder was also able to browse
         the CFO's files hosted by Microsoft's online file storage service OneDrive. The intruder
         viewed at least 15 of the CFO's files, primarily those relating to tax filings and the CFO's
         travel schedule. The intruder downloaded one of these files, which contained portions of
         Unatrac's standard terms and conditions of sale, and sent it to the external email address
         iconoclastl960@gmail.com.

    14. The FBI conducted open source "WHOIS^ queries for iconoclastl960@gmail.com, and
        found that it was listed as the registrant for several internet domains, including
        emmarlndustries.com. Emmarlndustries.com appears to be an intentional misspelling of
        the domain emmarindustries.com(using an"L"instead ofan "I" because the two lowercase
        characters look similar). Open source queries indicate emmarindustries is likely the
        legitimate email domain for ASM International Trading, Dubai, United Arab Emirates, an
        international financial portfolio company that could logically have business relationships
        with Unatrac. Based upon my experience working similar cases, I know that subjects who
        send phishing emails often do so from domain names that incorporate one or two
        intentionally misspelled characters. The subjects hope the misspellings will be overlooked
        by email recipients, who will trust they are communicating with their clients or other
        legitimate business partners, rather than an unknown third party.

    15.1 conducted additional queries for the suspected fraudulent domain emmarindustries.com,
       and found that an email associated with the domain,info@emmarlndustries.com, had been
       used to register five additional domains: REDACTED DOMAIN I, REDACTED
         DOMAIN 2, REDACTED DOMAIN 3, REDACTED DOMAIN 4, and REDACTED
         DOMAIN 5. The registrant for all five ofthese domains is listed as REDACTED PERSON
         1, in Yorktown, Virginia.


^ WHOIS is a query and response protocol that is widely used for querying databases that store the registered users
or assignees of an Internet resource, such as a domain name, an IP address block or an autonomous system.
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16.1 interviewed REDACTED PERSON 1, and he advised that he has no knowledge of the
   email address iconoclastl960@gmail.com. He claimed to have never registered an internet
   domain, and was unaware that anyone had used his identity to do so.

17. Further internal database checks for iconoclastl960@gmail.com revealed that an FBI
   confidential source had identified the address in another email phishing scheme. This FBI
   confidential source, who has been reporting for the FBI for a little less than a year, is
   employed as a high level architect at a software security firm. The source has first-hand
   knowledge ofthe reported information, which the source collects from malware reports at
   the source's company. FBI agents have often witnessed the source access the raw data
   being reported, and there is no reason to doubt the reliability of the source's reporting.
   When I requested more information, the source advised that the
   iconoclastl960@gmail.com account had been used to receive stolen login credentials, and
   assessed that iconoclastl960@gmail.com was likely owned and controlled exclusively for
   malicious purposes. The source explained that it would be unlikely for an intruder to use a
   shared, compromised account to receive stolen credentials, because the legitimate account
   owner would see the fraudulent activity and potentially alert law enforcement.

18. FBI database checks also revealed additional evidence that iconoclastl960@gmail.com
    has been used in the registration offraudulent phishing domains. An FBI investigation in
    another field office found that between February 5, 2016 and Jime 21, 2018, a Nigerian
    subject sent two emails to iconoclastl960@gmail.com, with the subject "Invoice Payment
    Confirmation." The Nigerian subject was known to be providing domain registration
    services to clients, and that some of the domains he registered were found to be hosting
    phishing pages and phishing software.

19. On November 7,2018,pursuant to a federal search warrant(4:18sw65)issued in the United
    States District Court for the Eastern District of Virginia, I obtained official records from
    Google pertaining to the account iconoclastl960@gmail.com. The records contained
    evidence that the account was substantially involved in fraudulent schemes, including
    computer intrusion, trafficking in stolen identities and passwords, and conspiracies to
    obtain money through fraudulent wire transfers. For example,I found email messages from
    April 2018 detailing the fraudulent wire transfers from Unatrac, as described above. I also
   found a message dated January 9, 2018 which contained documentation that
    iconoclastl960@gmail.com had defrauded Red Wing Shoe Company, located in Red
    Wing, Minnesota, of $108,470.55. I contacted representatives from Red Wing to obtain
    more information, and they confirmed they were victimized through the fraudulent wire
   transfer.


20. The records also contained hundreds of emails and chat messages with possible co-
    conspirators. These messages involved extensive discussions about creating fraudulent
    web pages, designed to trick unsuspecting users into providing their account credentials.
    Many of the emails also showed the apparent fruits of their efforts, with lists of over 600
    email account passwords, as well as copies of passports and driver's licenses that were
    likely stolen to be used in identity theft schemes.




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21. Review of the chat messages shows that the user of iconoclast1960@gmaiLcom worked
    closely with several others apparently involved in the scheme, including someone using
   the email address REDACTED EMAIL 1. Between December 2017 and November 2018,
   they discussed specific details about how to create fraudulent web pages that would capture
   users'    email      and     password      credentials.    During     these     discussions,
   iconoclastl960@gmail.com instructed REDACTED EMAIL 1 to design particular layouts
   and features for the web pages to ensure they would function properly and appear authentic.
   For example, during a chat session December 30, 2017,they had the following exchange:

   2017-12-30 22:29:13 REDACTED EMAIL 1: Check mail
   2017-12-30 22:29:26 REDACTED EMAIL 1: Sent you the file already
   2017-12-30 22:32:05 iconoclastl960@gmail.com: ok many errors
   2017-12-30 22:32:24 REDACTED EMAIL 1: Screenshot please
   2017-12-30 22:32:30 iconoclastl960@gmail.com: 1. you use exactly the same terms and
   codes for your old pages, these have been marked online and the page dies easily.
   2017-12-30 22:32:41 iconoclastl960@gmail.com: 2. withouth password the thing dey
   process
   2017-12-30 22:32:50 iconoclastl960@gmail.com: 3. without usename the thing dey
   process
   2017-12-30 22:33:02 iconoclastl960@gmail.com: 4. it does not ask for password twice.
   2017-12-30 22:33:25 iconoclastl960@gmail.com: 5. it does not have a flashing message
   before redirecting
   2017-12-30 22:33:35 iconoclastl960@gmail.com: 6. it is not asking for password twice
   2017-12-30 22:33:38 iconoclastl960@gmail.com: that is all
   2017-12-30 22:33:42 iconoclastl960@gmail.com: the page looks good

22. Nearly 10 months later,iconoclastl960@gmail.com and REDACTED EMAIL 1 discussed
   creating a new fraudulent page:

   2018-10-10 23:12:15 iconoclastl960@gmail.com: i need a new page
   2018-10-10 23:12:19 iconoclastl960@gmail.com: i dont know what it will be
   2018-10-10 23:12:22 iconoclastl960@gmail.com: but fresh codes
   2018-10-10 23:12:26 iconoclastl960@gmail.com: completely fresh everything
   2018-10-10 23:12:48 REDACTED EMAIL 1: hmm
   2018-10-10 23:12:51 iconoclastl960@gmail.com: and one you can choose your email
   provider
   2018-10-10 23:13:03 iconoclastl960@gmail.com: i dont know what you have in mind
   2018-10-10 23:13:25 REDACTED EMAIL 1: what are the latest challenges
   2018-10-10 23:13:40 REDACTED EMAIL 1: we could come with new document sharing
   services
   2018-10-10 23:13:58 REDACTED EMAIL 1: popular ones aside from the adobe or
   dropbox
   2018-10-10 23:14:03 REDACTED EMAIL 1: which you have in mind
   2018-10-10 23:14:36 iconoclastl960@gmail.com: i am thinking hard
   2018-10-10 23:14:53 iconoclastl960@gmail.com: but we will still do a frsh, totally fresh
   office365 page too
                                                                                                  \S.V

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                        [SOME CONTENT OMITTED]

   2018-10-10 23:18:56 iconoclastl960@gmail.com: lets start
   2018-10-10 23:18:59 REDACTED EMAIL 1: yeah
   2018-10-10 23:19:01 REDACTED EMAIL 1: well
   2018-10-10 23:19:08 iconoclastl960@gmail.com: 1.) office 365
   2018-10-10 23:19:10 REDACTED EMAIL 1: i have a new design i wanna work on
   2018-10-10 23:19:12 iconoclastl960@gmail.com: 2.) Docusign
   2018-10-10 23:19:14 REDACTED EMAIL 1: DocuSlgn
   2018-10-10 23:19:17 REDACTED EMAIL 1: fuck
   2018-10-10 23:19:20 REDACTED EMAIL 1: lol
   2018-10-10 23:19:25 iconoclastl960@gmail.com: let me have a look at the Docusign sef
   and see
   2018-10-10 23:19:55 REDACTED EMAIL 1: still coming up with the sketch
   2018-10-10 23:20:01 REDACTED EMAIL 1: the hin i dey do now sef
   2018-10-10 23:20:08 iconoclastl960@gmail.com:
    https://account.docusign.eom/#/usemame
   2018-10-10 23:20:12 REDACTED EMAIL 1: i have noticed one thing
   2018-10-10 23:20:12 iconoclastl960@gmail.com: here's docusign page
   2018-10-10 23:20:21 iconoclastl960@gmail.com: what did you notice
   2018-10-10 23:20:50 REDACTED EMAIL 1: page gets noticed if text and password field
   is present
   2018-10-10 23:21:02 iconoclastl960@gmail.com: how do you mean?
   2018-10-10 23:21:16 REDACTED EMAIL 1: at 100 link report, it starts to bring deceptive
    notification


23. In order to demonstrate and test their web designs, the iconoclastl960@gmail.com and
    REDACTED EMAIL 1 accounts also sent each other copies of code used to create the
    fraudulent web pages. For example, on January 8, 2018, REDACTED EMAIL 1 sent an
    email to iconoclastl960@gmail.com, which contained a file called "Microsoft.zip." Inside
    the ZIP file were scripting and other files that appeared to contain the code for a web site.
    One of the files was "index.php," which contained code that would display a web page
    with the title,"Sign in to your Microsoft account," and present input fields to enter an email
    address and password. Another document within the ZIP, named "verify.php," was
    designed to compile the collected credentials and send them to the email address
    REDACTED EMAIL 2. The script was also designed to insert the line"REDACTED LINE
    1" at the end of the email, in an apparent attempt to claim credit for stealing the login
    credentials. Further review of the iconoclastl960@gmail.com account revealed it
    contained hundreds of emails likely generated from this script. The emails all contained
    collected credentials, and ended with "REDACTED LINE 1."

24. Among these credentials were passwords of accounts belonging to victims located within
    the Eastern District of Virginia. For example,emails dated January 17, 2018 contained the
    passwords for victims in Mechanicsville, Virginia and Midlothian, Virginia. An email
    dated January 18, 2019 contained a password for a victim in Richmond, Virginia, and an
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        email dated February 26, 2018 contained a password for a victim in Ashbum, Virginia.
        Because the capture of these passwords was facilitated by wire communications affecting
        interstate commerce between the Eastern District of Virginia and locations outside
        Virginia, there is probable cause to believe that these emails violate Title 18, United States
        Code, Section 1030(a)(6)(Password Trafficking).

    25. In addition to the conspiratorial conversations, fraudulent web page code, and
        compromised credentials, the records returned from Google also contained information
        indicating the true identity of the iconoclastl960@gmail.com account owner. The
        information Google provided lists a recovery email address ofalibabaobi@gmail.com,and
        names several accounts linked to iconoclastl960@gmail.com by login session cookie^,
        which indicates a likelihood that they are operated by the same person. One ofthese linked
        accounts is obinwannem@gmail.com.

    26.1 conducted open source web searches for obinwannem@gmail.com, and found reference
        to that account on an online forum hosted by Nairaland.com. A Nairaland.com user named
        "Invictusobi," had listed obinwannem@gmail.com as his contact address. I checked the
        Nairaland.com profile page for "Invictusobi," and found it listed a Twitter usemame of
        "@invictusobi."

    27.1 in turn visited the online Twitter page for @invictusobi, which identified the user as
       OBINWANNE OKEKE, in Abuja, Nigeria, and associated him with a company called
       "Invictus Group." OKEKE's Twitter page claimed he maintained an Instagram page with
        the same usemame,"invictusoboi." Both the Twitter and Instagram pages appeared to be
        in tme identity, and contain posts as recent as July 2019.

    28.1 reviewed OKEKE's Instagram page and found numerous posts indicating he travels
       extensively throughout the world. I then reviewed the IP session logs provided by Google,
       and found several occasions where the iconoclastl960@gmail.com was accessed from
       OKEKE's location. For example,on March 31,2018,OKEKE submitted an Instagram post
       claiming he was in Seychelles. On the same date, Google's logs showed a login to
       iconoclastl960@gmail.com from IP address 197.157.125.89, which is located in
       Seychelles. On another post, dated April 20, 2018, OKEKE claimed he was in England.
       Google's logs aligned again, with an April 20, 2018 entry showing a login to the
       iconoclastl960@gmail.com account from IP address 167.98.28.227, in London, England.
       OKEKE also posted on Instagram during a visit to the United States, where he claimed to
       be in Washington,D.C.from June 25-27,2018. On June 26,2018, Google reported a login
       to the iconoclastl960@gmail.com account from IP address 68.33.78.173, which is located
       in Washington, D.C.

^ According to Google's Privacy & Terms web site (https://www.google.com/policies/technologies/cookies), the
company sends a small piece oftext(known as a "cookie")to the user's internet browser for a variety of purposes.
Cookies allow the web sites visited, such as Google.com or Gmail.com, to recognize the electronic device that is
accessing that web site. Google's cookies record:(a) all ofthe Google accounts accessed by a particular electronic
device using the same web browser;(b)information about those visits; and (c)the user's preferences and other
settings. When that device returns to the web site later, Google can then tailor the user's online experience
accordingly. Through the use ofthese cookies, Google is able to establish a relationship between multiple Google
accounts that are likely used by the same individual.
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29. Further review of OKEKE's Instagram account uncovered a post dated July 12, 2018,
    where OKEKE claimed to be in a hospital recovering from surgery. The post contained a
    picture ofOKEKE lying in a hospital bed, with the text,"Thank God for seeing the surgery
    through and making it a successful one." I searched for the term "hospital" in the chat
    messages contained in the iconoclastl960@gmail.com account, and found a conversation
    which appeared to reference OKEKE's hospital visit, as follows:

   2018-08-07 13:13:44   iconoclastl960@gmail.com: hi
   2018-08-07 13:54:20   REDACTED EMAIL 3: longest time
   2018-08-07 13:54:30   REDACTED EMAIL 3: how have you been
   2018-08-07 13:54:43   iconoclastl960@gmail.com: ive been in hospital
   2018-08-07 13:54:50   iconoclastl960@gmail.com: im back in nigeria but still resting
   2018-08-07 13:55:15 REDACTED EMAIL 3: wow., sorry
   2018-08-07 13:55:27 REDACTED EMAIL 3: hope you are good now
   2018-08-07 13:55:47   iconoclastl960@gmail.com: i am recovering
   2018-08-07 14:02:24   REDACTED EMAIL 3: sorry bro..
   2018-08-07 14:02:44   REDACTED EMAIL 3: i was surprised you went offfor a while
   2018-08-07 14:03:05   REDACTED EMAIL 3: you need rest..
   2018-08-07 14:03:27   iconoclastl960@gmail.com: yes i am getting the rest i deserve
   2018-08-07 14:03:36   iconoclastl960@gmail.com: but i want to resume office next week

30. Other chat messages with iconoclastl960@gmail.com show people often refer to him in
    true name or nickname. For example, on several instances REDACTED EMAIL 1 refers
    to iconoclastl960@gmail.com as "Obi," "Chief Obi" and "Obiwanne"(The missing "n"
    is believed to be a typographical error.).

31. In order to help further confirm the true identity ofthe iconoclast1960@gmail.com account
    owner,I searched the email content in the iconoclastl960@gmail.com account for the term
   "invictusobi," and found two matching emails. One of the emails, dated March 1, 2016,
   sent from iconoclastl960@gmail.com to invictusobi@icloud.com, contained an attached
   picture ofa white bathtub next to wooden doors with glass panes. I visited the "invictusobi"
   Instagram page, and found that on the same date, March 1, 2016, the user had posted the
   same bathtub picture to his Instagram site.

32. The second email, dated March 4, 2016, was sent from iconoclastl960@gmail.com to
    invictusobi@icloud.com. The message was a forward of a February 27, 2016 email,from
   iconoclastl960@gmail.com to alibabaobi@gmail.com, which contained an attachment
   called "blaze credit card DIAZ.docx." The attached document was a credit card payment
   authorization form for "Blaze Metals," and contained credit card details and a picture of a
   Spanish identification card. Based on my understanding of the case, I believe the personal
   and credit card details shown were likely stolen and used fraudulently.

33. On December 21, 2018 I served federal search warrants, issued in the Eastern District of
    Virginia, to Google (4:18sw81) for the accounts REDACTED EMAIL 1,
   obinwaimem@gmail.com and alibabaobi@gmail.com, and to Apple (4:18sw83) for the

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   account invictusobi@icloud.com.  Review of returns indicate the accounts
   obinwannem@gmail.com, alibabaobi@gmail.com and invictusobi@icloud.com are all
   used in true name by OKEKE.

34. Analysis of the REDACTED EMAIL 1 records confirmed the account's involvement in
    the fraudulent scheme, with many conversations about the creation offake web pages and
    attempts to obtain funds through fraudulent means. Google's records also indicated that the
   user of the REDACTED EMAIL 1 account was linked by session cookies to dozens of
   additional email accounts, many of which are listed in complaints of fraud in other FBI
   investigations.

35. One such account, linked by session cookie to REDACTED EMAIL 1, was REDACTED
    EMAIL 4. I conducted open source searches to determine whether anyone had filed
    complaints about REDACTED EMAIL 4. I found dozens of posts on various Internet
   forums, dating from 2013 until 2018, in which users claim to have been targeted by
    REDACTED EMAIL 4 in fi-audulent home repair or maintenance schemes. For instance,
    on April 14, 2018, a user posted the following complaint about REDACTED EMAIL 4:
   "Scam! Tries to get roofing estimates pretending to be hearing impaired and tries to pay
   with credit card..." I conducted checks of internal FBI databases, which revealed at least
   one victim of REDACTED EMAIL 4's scams resided in the Eastern District of Virginia.
   Records show that in 2015, a merchant in Hampton, Virginia was victimized by the user
   of REDACTED EMAIL 4, which resulted in $11,570 offraudulent payments.

36. On May 15,20191 served federal search warrants,issued in the Eastem District ofVirginia,
    to Google for multiple Google accounts, including REDACTED EMAIL 4 (4:19sw74).
    Google's retum, dated June 10, 2019, indicated the REDACTED EMAIL 4 account was
    active, and that it includes data fi-om various Google services to include location history.
   Review ofthe emails contained within the account uncovered thousands of messages which
   involved fi*audulent home repair schemes. One string of messages seemed to confirm the
   $11,570 fraudulent transaction in 2015 involving the merchant in Hampton, Virginia.

37. In addition to REDACTED EMAIL 1, the iconoclastl960@gmail.com account contained
    email and chat communications with several other co-conspiratorial accounts. The
    accounts REDACTED EMAIL 5 and REDACTED EMAIL 6 appeared to be the most
    significantly involved in the scheme, as detailed below.

38. The account REDACTED EMAIL 5 sent emails to iconoclastl960@gmail.com with lists
    of apparently compromised accounts and passwords. There appear to be dozens of victims
    fi-om the United States, including passwords from victims in Indiana, California,
    Massachusetts, Alabama and Wisconsin. The emails from REDACTED EMAIL 5 also
    highlighted specific accounts which were engaged in large pending financial transactions.
    For example, on October 15, 2018, an email from REDACTED EMAIL 5 to
   iconoclastl960@gmail.com advised of an upcoming real estate transaction valued at
   $585,000. In the email, REDACTED EMAIL 5 claimed the buyer had already paid 10%,
   with a remaining balance due of $526,000. REDACTED EMAIL 5 suggested to
   iconoclastl960@gmail.com that it would "make sense to tell them go transfer this balance




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   this week prior to next week settlement." In addition to email exchanges, the
   iconoclastl960@gmail.com account also contained chat conversations with REDACTED
   EMAIL 5, in which they discussed their fraudulent schemes. In one such chat, dated
   December 13,2017,they referenced a third co-conspirator named "Kelvin."

39. On June 10,2019, pursuant to federal search warrant 4:19sw77,1 obtained account records
   from Google for REDACTED EMAIL 5. The records showed that the account was active,
    and that it was linked to telephone number REDACTED PHONE NUMBER 1, and by
    session cookies to several email accounts, including REDACTED EMAIL 7. I checked
    FBI databases and found that in November 20, 2018, a Nigerian citizen named
   REDACTED PERSON 2 had listed telephone number REDACTED PHONE NUMBER
   1, and email address REDACTED EMAIL 7, on a Visa application for entry to the United
    States.


40. On March 10, 2019, OKEKE and REDACTED PERSON 2 traveled to the United States.
   During entry. Customs and Border Protection officers questioned OKEKE about the
   purpose of his visit, where he advised that he and REDACTED PERSON 2 were traveling
   together.

41. The account REDACTED EMAIL 6 exchanged dozens of messages with
    iconoclastl960@gmail.com, including many which contained copies of compromised
    accounts and passwords, and with attached copies oflikely stolen passports. Similar to the
    email exchanges with REDACTED EMAIL 5, the REDACTED EMAIL 6 account also
    highlighted certain accounts, and identified specific individuals to target in the scheme. For
    instance, a message dated September 14, 2017, from REDACTED EMAIL 6 to
   iconoclastl960@gmail.com, listed a victim's compromised email account and password.
   In the same message, REDACTED EMAIL 6 also named a second user's email account
   who he claimed "approves transfers," and the name of an employee at the target company
    who REDACTED EMAIL 6 claimed "is probably the accountant."

42. On June 10, 2019, February 27, 2019, pursuant to federal search warrant 4:19sw79, I
    obtained account records from Google for REDACTED EMAIL 6. Google's records
    indicate the account was active,and was linked to telephone number REDACTED PHONE
    NUMBER 2. FBI database checks reveal that in July 2015,a Nigerian citizen REDACTED
    PERSON 3 listed REDACTED PHONE NUMBER 2 on his Visa application for entry to
   the United States.



                                    V.      CONCLUSION



43. Based on the foregoing, your Affiant submits that probable cause exists to believe that
    OBINWANNE OKEKE has participated in violations of 18 U.S.C. §§ 1030 and 1349.
    Specifically, the investigation has revealed that OKEKE conspired with REDACTED
   PERSON 2 and REDACTED PERSON 3, among others, to conduct computer fraud and
    cause fraudulent wire transfers.



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   44. OBESfWANNE OKEKE, bom November 9, 1987, passport number AXXXXXXXX, is a
       Nigerian citizen who has been issued a Visa for entry to the United States. He has recently
       been visiting the United States once or twice per year. As of the date of this application,
       OKEKE is currently in the United States, and is scheduled to depart the country on August
      6, 2019. Therefore, a warrant for his arrest is immediately required to apprehend him and
       prevent his retum to Nigeria, where he would be beyond the reach ofU.S.law enforcement.




                                            Marshall Ward
                                            Special Agent
                                            Federal Bureau of Investigation

Subscribed and sworn to before me this              of August 2019, at Norfolk, Virginia




                                              [E HON.LAWRENCE W. LEONkRD
                                            UNITED STATES MAGISTRATE JUDGE




                                                            lPPROVED



                                            Brian J. Samuels
                                            Assistant United States Attomey




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